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UNITED STATES DISTRICT COURT FILED

FOR THE DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION AUG 17 2005

UNITED STATES OF AMERICA, crRO5-4OI0| ~~ C

Plaintiff, INDICTMENT 7-03
VS. Possession With Intent to Distribute
Controlled Substance and Aiding and

BENJEMEN MOON, Abetting Same

STEVEN CRAIG ALEXANDER, and

KRISTEN LYNNE SCHULZ, 21 ULS.C. § 841(a)(1); 18 U.S.C. § 2
Defendants.

The Grand Jury charges:

On or about July 22, 2005, in the District of South Dakota, Benjemen Moon, Steven Craig
Alexander, and Kristen Lynne Schulz did knowingly and intentionally possess with the intent to
distribute 50 grams or more of a mixture and substance containing cocaine base, commonly referred
to as crack, a Schedule JI controlled substance, and aided and abetted the same, in violation of
21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

A TRUE BILL:

MICHELLE G. TAPKEN
ACTING UNITED STATES ATTORNEY

